Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 1 of 20 Page ID #:191




                            EXHIBIT 1
Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 2 of 20 Page ID #:192




Homeland Security Advisory
         Council
   Future Of Terrorism
       Task Force

                 January 11, 2007

                                                                                   1
      Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 3 of 20 Page ID #:193




  The Future of Terrorism Task Force
In June 2006, the Secretary directed the Homeland
Security Advisory Council (HSAC) to create a Future of
Terrorism Task Force (FOTTF) to accomplish the following:

– Assess future threats to the United States and U.S. interests abroad
  over the next five years

– Strategically fine-tune departmental structures and processes to
  meet those threats

– Recommend how to better engage and prepare the American public
  for present and future challenges




                                                                                         2
        Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 4 of 20 Page ID #:194




                                   Findings
•   There is every indication that the number and magnitude of
    attacks on the U.S., its interests and its allies will likely increase
•   Globalization has changed the means and opportunities
    available to those who wish to do us harm (increasingly mobile
    populations, technologies and “know-how” readily available)

•   Terrorism is a tactic for any adversary, whether or not state-
    sponsored, who chooses not to attack us peer-to-peer

•   The most significant terrorist threat to the homeland and to U.S.
    interests abroad today is a growing radical, extremist movement
    underpinned by a jihadist/Salafist ideology




                                                                                           3
       Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 5 of 20 Page ID #:195




                                  Findings
•   Al-Qaeda, although diminished, is resilient and resurgent and
    remains a threat to the US

•   Al-Qaeda has franchised itself across the globe and inspired
    groups that act locally and largely independently (increasingly
    leaderless and marked by self-enlistment)

•   Although the war in Afghanistan was successful in destroying Al
    Qaeda’s base of operations, our adversaries continue to feed on
    weak states, and we have witnessed the spread of safe havens
    globally, including northwest Pakistan, Iraq, and the Internet

•   It is anticipated state-sponsored terrorism will continue




                                                                                          4
       Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 6 of 20 Page ID #:196




                                  Findings
•   In recent years, Muslims have born a substantial burden of
    terrorist attacks

•   Our adversaries base their actions (targets and modus
    operandi) in part on our actions

•   Factors that will influence the future of terrorism include:
    leadership of the terrorists, US counterterrorism efforts, status of
    political reform in Muslim nations and the elimination of safe
    havens

•   The Internet enhances the full range of terrorist activities
    (training, target selection, planning, execution, and other
    tradecraft), and is an especially powerful tool for spreading their
    message and recruiting and enlisting into the jihadists’ ranks




                                                                                          5
        Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 7 of 20 Page ID #:197




                                   Findings
•   The evolving complexity of the enemy increases the requirement that
    protection of the homeland be done with seamless coordination
    between and among federal, state and local authorities and the private
    sector

•   International partners provide valuable input and lessons learned

•   Muslims living in the US are more integrated, more prosperous and
    therefore less alienated than Muslims living in Western Europe, where
    the “homegrown” threat is significant and rising

•   Muslim culture and the Islamic faith are not widely understood within
    the Western world
•   Our adversaries use terror tactics to target both the physical and
    psychological well-being of our populace




                                                                                           6
         Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 8 of 20 Page ID #:198




                       Recommendations
•   The Secretary should establish an Office of Net Assessment to provide the
    Secretary with comprehensive analysis of future threats and US capabilities to
    meet those threats

•   The Secretary should conduct a comprehensive, systematic, and regular
    examination – a Quadrennial Security Review – of all homeland security threats,
    assets, plans and strategies with a view toward long-term planning and
    modernization
•   The Secretary should undertake, in conjunction with the Director of National
    Intelligence (DNI), a comprehensive National Intelligence Estimate to address
    threats to the homeland

     –   A permanent Deputy National Intelligence Officer (DNIO) should be assigned to the
         National Intelligence Council; the DNIO position should rotate between the Department
         and the FBI.

     –   State and local input must drive the domestic component of the assessment, and must
         be continually updated




                                                                                             7
        Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 9 of 20 Page ID #:199




                      Recommendations
•   Countering “home-grown” radicalization must be one of the
    Department’s top priorities by using the Department’s
    Radicalization and Engagement Working Group (REWG) to
    better understand the process – from sympathizer to activist to
    terrorist

•   The Department must place a renewed emphasis on recruiting
    professionals of all types with diverse perspectives,
    worldviews, skills, languages, and cultural backgrounds and
    expertise

•   The Department should work with subject matter experts to
    ensure that the lexicon used within public statements is clear,
    precise and does not play into the hands of the extremists




                                                                                           8
       Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 10 of 20 Page ID #:200




                      Recommendations
•   Broader avenues of dialogue with the Muslim community should
    be identified and pursued by the Department to foster mutual
    respect and understanding, and ultimately trust

•   Local communities should take the lead on developing and
    implementing Muslim outreach programs. DHS should
    encourage such outreach efforts and facilitate the sharing of
    best practices

•   The Secretary should work directly with state, local, and
    community leaders to educate them on the threat of
    radicalization, the necessity of taking preventative action at the
    local level, and to facilitate the sharing of other nation’s and
    communities’ best practices




                                                                                           9
       Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 11 of 20 Page ID #:201




                      Recommendations
•   The Department should move immediately to implement the
    recommendations contained in earlier HSAC reports on
    information sharing, including:

    – resolving issues such as classification of information; and

    – ensuring that appropriate resources and standards are in place to
      ensure consistency and adequacy in analytical training and
      capabilities in fusion centers around the country

•   The Department should develop and immediate implement, in
    concert with the Department of Justice and state and local
    corrections officials, a program to address prisoner
    radicalization and post-sentence reintegration




                                                                                           10
       Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 12 of 20 Page ID #:202




                      Recommendations
•   The Department must use all avenues of international
    cooperation and instruments of statecraft to boost existing and
    form new partnerships to foster and maintain a global network
    that permits, among other things, robust intelligence and
    information sharing

•   The Department should partner with the media and educational
    institutions to engage the public in prevention and response
    efforts –developing consistent, accurate, realistic, persuasive
    and actionable messages as well as evidence-based strategies
    for communicating
    the same
•   Consider naming the Secretary of Homeland Security to the
    National Security Council in order to fully integrate national
    security with homeland security




                                                                                           11
      Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 13 of 20 Page ID #:203




                  Task Force Members
•   Lee Hamilton, Director, Woodrow Wilson International Center for
    Scholars (Task Force Chair)
•   Frank Cilluffo, Associate Vice President for Homeland Security, GWU
    (Task Force Vice-Chair)
•   Kathleen Bader, Textron Inc., Board Member
•   Elliott Broidy, Chairman and CEO, Broidy Capital Management
•   Dr. Roxy Cohen-Silver, Professor of Psychology, UC Irvine
•   Dr. Ruth David, President and CEO, ANSER
•   James Dunlap, President, Dunlap Consulting (Former OK State
    Senator)
•   Thomas Foley, Partner, Akin, Gump, Strauss, Hauer, Feld LLP
•   Steve Gross, President, BiNational Logistics LLC
•   Glenda Hood, Chairman, Glenda Hood Consulting (Former Secretary
    of State, State of Florida)




                                                                                          12
      Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 14 of 20 Page ID #:204




                  Task Force Members
•   Don Knabe, LA County Board of Supervisors
•   John Magaw, Former Under Secretary for Security, US DOT
•   Patrick McCrory, Mayor, Charlotte, North Carolina
•   Bill Parrish, Associate Professor, Homeland Security and Emergency
    Planning, VCU
•   Mitt Romney, Former Governor, Commonwealth of Massachusetts
•   Jack Skolds, President, Exelon Energy Delivery and Exelon Generation
•   Dr. Lydia Thomas, President and CEO, Mitretek Systems Inc.
•   Houston Williams, Chairman and CEO, Pacific Network Supply Inc.
•   Allan Zenowitz, Former Executive Officer, FEMA
•   Judge William Webster, Partner, Milbank, Tweed, Hadley & McCloy,
    LLP (HSAC Chair)
•   James Schlesinger, Chairman, Board of Trustees, The MITRE
    Corporation (HSAC Vice-Chair)




                                                                                          13
      Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 15 of 20 Page ID #:205




               Subject Matter Experts
•   Javed Ali, Senior Intelligence Officer, DHS
•   Sheriff Lee Baca, Los Angeles County, California
•   Randy Beardsworth, Assistant Secretary for Strategic Plans
•   Gina Bennett, Deputy National Intelligence Officer, Transnational
    Threats, Office of the Director of National Intelligence
•   Chief William Bratton, Los Angeles Police Department
•   Frank Buckley, Co-Anchor, KTLA Prime News, Los Angeles, California
•   Sharon Cardash, Associate Director for Research and Education,
    Homeland Security Policy Institute, The George Washington University
•   Sheriff Michael Carona, Orange County, California
•   Joel Cohen, Intelligence Liaison Officer, California, Department of
    Homeland Security
•   Ambassador Henry Crumpton, Coordinator for Counterterrorism,
    Department of State
•   Derek Dokter, Counselor, Ministry of the Interior and Kingdom
    Relations, Royal Embassy of the Netherlands




                                                                                          14
        Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 16 of 20 Page ID #:206




                 Subject Matter Experts
•   Steve Emerson, Executive Director, The Investigative Project on
    Terrorism
•   Eric Fagerholm, Acting Assistant Secretary for Strategic Plans, DHS
•   Richard Gerding, Counselor for Police and Judicial Affairs, Royal
    Embassy of the Netherlands
•   Jim Guirard, TrueSpeak Institute
•   Chris Hamilton, Senior Fellow, Counterterrorism Studies, The
    Washington Institute for Near East Policy
•   Chief Jack Harris, Phoenix Policy Department
•   Brian Michael Jenkins, Senior Advisory to the President, Rand
    Corporation
•   Brigadier General Yosef Kuperwasser, CST International
•   Dr. Harvey Kushner, Chairman, Department of Criminal Justice, Long
    Island University
•   Jan Lane, Deputy Director, Homeland Security Policy Institute, The
    George Washington University
•   Tony Lord, First Secretary, Justice and Home Affairs, British Embassy




                                                                                            15
       Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 17 of 20 Page ID #:207




                Subject Matter Experts
•   David Low, National Intelligence Officer, Transnational Threats, Office
    of the Director of National Intelligence
•   Simon Mustard, Counter Terrorism and Strategic Threats, Foreign and
    Security Policy Group, British Embassy
•   Dr. Walid Phares, Senior Fellow, Foundation for Defense of
    Democracies
•   Dennis Pluchinsky, George Mason University
•   Peter Probst, Consultant
•   Mark Randol, Director of Counterterrorism Plans, DHS
•   Ambassador Dennis Richardson, Australian Embassy
•   Dr. Joshua Sinai, Program Manager, The Analysis Corporation
•   Robert Spencer, Director – Jihad Watch
•   Dan Sutherland, Office of Civil Liberties and Civil Rights, DHS
•   Major General Israel Ziv, CST International




                                                                                           16
Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 18 of 20 Page ID #:208




                             EXHIBIT 2
Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 19 of 20 Page ID #:209
Case 2:18-cv-02421-JFW-E Document 31-7 Filed 04/02/18 Page 20 of 20 Page ID #:210
